Case 2:07-cr-20076-RHC-RSW ECF No. 180, PageID.442 Filed 10/31/07 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION


UNITED STATES OF AMERICA,                              CASE NO.:          07-20076-07

                               Plaintiff,             HONORABLE ROBERT H. CLELAND

                                                       VIOLATIONS: 21 U.S.C. § 846(a)(1)
v.

D-7    JERRY GUNTER,

                        Defendant.
_______________________________________/


      STIPULATION AND ORDER WITHDRAWING PENALTY INFORMATION

       Through their respective counsel, the parties stipulate and agree to withdraw the

Government’s Penalty Information for the following reasons:

       1.      On August 27, 2007, the Government filed a notice of Penalty Information pursuant

to 21 U.S.C. § 851(a)(1).

       2.      On October 3, 2007, Defendant filed a Motion to Strike Penalty Information for the

reason that Defendant’s conviction for possession of a controlled substance did not become final

until after the acts alleged in the Indictment.

       3.      That pursuant to 21 U.S.C. § 841(b)(1)(B)(iii) a prior felony drug offense may not

be used to enhance a penalty unless such offense has become final prior to the commission of the

new drug offense.

       4.      That Court documents provided verify that Defendant’s prior offense did not become

final until April 17, 2007, after the date of offense alleged in the Indictment.
Case 2:07-cr-20076-RHC-RSW ECF No. 180, PageID.443 Filed 10/31/07 Page 2 of 2




       WHEREFORE, as the parties stipulate and agree that Defendant’s prior drug offense

did not become final until after the date alleged in the Indictment;

       IT IS HEREBY ORDERED that the Government’s Notice of Penalty Information is

WITHDRAWN.

       IT IS FURTHER ORDERED that Defendant’s Motion to Strike Penalty Information

is Denied as MOOT.



       IT IS SO ORDERED.

                                            S/Robert H. Cleland
                                           ROBERT H. CLELAND
                                           UNITED STATES DISTRICT JUDGE

Dated: October 31, 2007

I hereby certify that a copy of the foregoing document was mailed to counsel of record on
this date, October 31, 2007, by electronic and/or ordinary mail.

                                            S/Lisa Wagner
                                           Case Manager and Deputy Clerk
                                           (313) 234-5522



We hereby stipulate to entry of the above order:



s/ Noceeba S. Gordon                               s/ Patrick Cleary (w/consent)
Noceeba S. Gordon                                  Patrick Cleary
Assistant U.S. Attorney                            Attorney for Jerry Gunter
211 W. Fort, Suite 2001                            43494 Woodward Ave., Suite 203
Detroit, MI 48226                                  Bloomfield Hills, MI 48302
(313) 226-9676                                     (248) 335-7890
